
703 S.E.2d 450 (2010)
PPD DEVELOPMENT, LP
v.
COGNITION PHARMACEUTICALS, LLC.
No. 293P10.
Supreme Court of North Carolina.
November 4, 2010.
Michael L. Wilson, Charlotte, for Cognition Pharmaceuticals, LLC.
Michael Murchison, Wilmington, for PPD Development, LP.

ORDER
Upon consideration of the petition filed on the 20th of July 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th of November 2010."
